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                            Exhibit 4
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PUBLIC SAFETY INVESTIGATION                                       1. Are you injured? If so, what are your injuries?
INSTRUCTIONS CPD-11.921 (Rev. 11/18)                              2. Is anyone else injured? If so, what are their injuries
                                                                     and where are they located?
     The purpose of the Public Safety Statement is to make
      an immediate assessment following an incident to            3. Did you fire your firearm? If so, where were you
      ensure public safety, preserve evidence, and secure            located when you fired and approximately how many
      the incident scene.                                            rounds?
                                                                  4. Did any subject fire a firearm? If so, in what direction
     The assigned supervisor will ask the listed Public             and approximately how many rounds?
      Safety Statement questions.
                                                                  5. Are any subjects at-large? If so:
     The assigned supervisor will inform the OEMC zone               a. How many subjects are wanted?
      dispatcher of the relevant safety information and send          b. What are their descriptions (including any vehicle
      a flash message of all the available information,                  information) and their method of flight?
      including wanted subject descriptions, weapon and
      vehicle information, and the direction of travel.               c. What was their direction of travel?
                                                                      d. How long ago did they flee?
    Consistent with the Department directives entitled
                                                                      e. For what crimes are they wanted?
    "Body-Worn Cameras" and "In-Car Video Systems,"
    supervisors are reminded that Department members                  f. Were they armed? If so, what type of weapon(s)
    will deactivate their body-worn cameras and in-car                   did you observe?
    camera systems before providing a response to the             6. Do you know of any evidence? If so, what is the
    public safety investigations for incidents involving a           evidence and where is it located?
    firearms discharge and/or officer-involved death.
                                                                  7. Do you know of any victims or witnesses? If so,
                                                                     where are they located?
    "The following questions are only related to public safety,   8. Are there any involved vehicles, including damage to
    preserving evidence, and securing the scene. These               vehicles or vehicle-related safety concerns?
    questions are not investigatory in nature. At this time       9. Is there anything else that I need to know to ensure
    and to the best of your knowledge, answer only the               public safety, preserve evidence, or secure the
    following questions:”                                            incident scene?
